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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

UNITED STATES OF AMERICA,                        §
               Plaintiff,                        §
                                                 §
v.                                               §   CASE NO. 1:23-CR-00135-RP
                                                 §
SAINT JOVITE YOUNGBLOOD,                         §
     Aka Kota Youngblood                         §
                 Defendant.                      §

                            DECLARATION OF PUBLICATION

       Under Title 21 U.S.C. ' 853(n)(1) and the Attorney General=s authority to determine the

manner of publication of an Order of Forfeiture in a criminal case, notice of the forfeiture was

posted on an official government internet site (www.forfeiture.gov) for at least 30 consecutive

days, beginning on December 11, 2024, and ending on January 9, 2025. (See Attachment.)

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on February 13, 2025, at Austin, Texas.


                                                             Respectfully submitted,

                                                             JAIME ESPARZA
                                                             UNITED STATES ATTORNEY


                                                     By:     Mark Tindall
                                                             MARK TINDALL
                                                             Assistant United States Attorney
                                                             Texas State Bar #24071364
                                                             903 San Jacinto Blvd., Suite 334
                                                             Austin, Texas 78701
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 13, 2025, a true and correct copy of the foregoing

instrument was electronically filed with the Clerk of Court using the CM/ECF system which will

send notification of such filing to the following:

       Jeff Senter
       501 Congress Ave.
       Suite 150
       Austin, Texas 78701
       Email: jeff@jeffsenterpc.com
       Attorneys for Defendant Saint Jovite Youngblood aka Kota Youngblood
       .


                                                           Mark Tindall
                                                           MARK TINDALL
                                                           Assistant United States Attorney




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Attachment 1


                       UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
          COURT CASE NUMBER: 1:23-CR-00135-RP; NOTICE OF FORFEITURE

      Notice is hereby given that on December 04, 2024, in the case of U.S. v. SAINT
JOVITE YOUNGBLOOD Aka Kota Youngblood, Court Case Number 1:23-CR-00135-RP,
the United States District Court for the Western District of Texas entered an Order
condemning and forfeiting the following property to the United States of America:

       $4,606.00 more or less, in United States Currency, seized July 13, 2023, from Saint
       Jovite Youngblood in Manor, Texas (23-FBI-006674)

       $18,160.00 more or less, in United States Currency, seized on July 30, 2023, from
       Saint Jovite Youngblood at the Austin-Bergstrom International Airport
       (23-FBI-006675)

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (December 11, 2024) of
this Notice on this official government internet web site, pursuant to Rule 32.2 of the
Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition
must be filed with the Clerk of the Court, 501 West 5th Street, 1st Floor, Austin, TX
78701, and a copy served upon Assistant United States Attorney Mark Tindall, 903 San
Jacinto Blvd., Suite 334, Austin, TX 78701. The ancillary petition shall be signed by the
petitioner under penalty of perjury and shall set forth the nature and extent of the
petitioner's right, title or interest in the forfeited property, the time and circumstances of the
petitioner's acquisition of the right, title and interest in the forfeited property and any
additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

        The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
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made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petition for remission online. If you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney Mark Tindall, 903 San Jacinto Blvd., Suite 334, Austin, TX 78701. This website
provides answers to frequently asked questions (FAQs) about filing a petition for
remission. You may file both an ancillary petition with the court and a petition for
remission or mitigation.
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                                 Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between December 11, 2024 and January 09, 2025. Below is a summary report that identifies the uptime
for each day within the publication period and reports the results of the web monitoring system’s daily
check that verifies that the advertisement was available each day.

U.S. v. SAINT JOVITE YOUNGBLOOD Aka Kota Youngblood

Court Case No:              1:23-CR-00135-RP
For Asset ID(s):            See Attached Advertisement Copy

   Consecutive          Date Advertisement         Total Hours Web Site             Verification that
   Calendar Day          Appeared on the           was Available during              Advertisement
       Count                 Web Site                  Calendar Day                existed on Web Site
         1                   12/11/2024                      23.9                          Verified
         2                   12/12/2024                      23.9                          Verified
         3                   12/13/2024                      24.0                          Verified
         4                   12/14/2024                      23.9                          Verified
         5                   12/15/2024                      23.9                          Verified
         6                   12/16/2024                      24.0                          Verified
         7                   12/17/2024                      23.9                          Verified
         8                   12/18/2024                      23.9                          Verified
         9                   12/19/2024                      23.9                          Verified
        10                   12/20/2024                      23.9                          Verified
        11                   12/21/2024                      23.9                          Verified
        12                   12/22/2024                      23.9                          Verified
        13                   12/23/2024                      23.9                          Verified
        14                   12/24/2024                      23.9                          Verified
        15                   12/25/2024                      23.8                          Verified
        16                   12/26/2024                      23.9                          Verified
        17                   12/27/2024                      23.9                          Verified
        18                   12/28/2024                      23.9                          Verified
        19                   12/29/2024                      23.9                          Verified
        20                   12/30/2024                      23.9                          Verified
        21                   12/31/2024                      23.9                          Verified
        22                   01/01/2025                      23.9                          Verified
        23                   01/02/2025                      24.0                          Verified
        24                   01/03/2025                      24.0                          Verified
        25                   01/04/2025                      23.9                          Verified
        26                   01/05/2025                      23.9                          Verified
        27                   01/06/2025                      23.9                          Verified
        28                   01/07/2025                      23.9                          Verified
        29                   01/08/2025                      23.9                          Verified
        30                   01/09/2025                      23.9                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
